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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Manuel Von Ribbeck
                               Plaintiff,
v.                                                  Case No.: 1:19−cv−01205
                                                    Honorable John Robert Blakey
Christine Negroni
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 28, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Status and motion
hearing held on 3/28/2019. Oral motion for leave to file an amended complaint is granted
and shall be filed on or before 4/18/2019. Defendant's motion to dismiss [14] is denied
without prejudice. Status hearing set for 4/24/2019 at 9:45 a.m. in Courtroom 1203.
Parties shall be prepared to set additional case management dates at the next hearing.
Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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